Case 2:05-cr-20212-SH|\/| Document 27 Filed 06/16/05 Page 1 of 2 Page|D 26

 

 

 

 

sites A‘?/'
lN THE UNlTED sTATEs DISTRICT coURT " D'C'
FoR THE WEsTERN DISTRICT oF TENNESSEE 05 JUH l 6 PH l+= 5 0
WESTERN DIvIsIoN
E”i C`t.}'. ` '|`§`3§;_'}§_|0
"""it WD r" `:tE“N' !:DAEES|\;P-'CTS
UNITED STATES 0F AMERICA ‘ ` ’"
V.
WILLIE ROGERS 05¢r20212-3-Ma
ORDER oN ARRAIGNMENT
This cause came to be heard on 9 _/ l l! /0‘§ the United States Attorney

 

for this district appeared on behalf of the govemment, and the defendant appeared` 111 person and with
coun sel:

NAME éM/ltn¢_L- /<//M whoisRetained/-

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

c The defendant, Who is not in custody, may stand on his present bond

_The defendant, (~m»t-havmg-mad-e-bund) (being a State prisoner) (lbei.ng_a_£edm:al
_pr.isoner) Gberhg-held-wrtheu+bend-parme-BMk-\MB¢), is remanded to the custody

of the U. S. Marshal.
7
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:2118(a)
ROBBERY oF CONTROLLED sUBsTANCE

Attorney assigned to Case: T. Arvin

Age: 39_

. . e
docket sheet tn comphanc
This document entered on the v

with Btlle 55 and]or 32(bl FRCrP on

FU

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-202l2 Was distributed by faX, rnaiI, or direct printing on
June 20, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

